          Case 2:24-cr-00105-WBV-JVM        Document 298-9      Filed 05/19/25    Page 1 of 2

           From:                   <        @kinginjuryfirm.com>
              To:                  <          @kinginjuryfirm.com>, Jason Giles
                 <jgiles@kinginjuryfirm.com>,                <          @       .com>,
                 <       @kinginjuryfirm.com>
        Subject: Fwd:                Jr. taken 1-7-19
           Date: Fri, 11 Jan 2019 22:16:37 +0000
   Attachments: FeyLouis010719.txt; FeyLouis010719.ptx; FeyLouis010719Exhibit001.pdf;
                 FeyLouis010719Exhibit002.pdf; FeyLouis010719Full.pdf; FeyLouis010719Mini.pdf
  Inline-Images: image001.png


Final copy with exhibits


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      @kinginjuryfirm.com


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From:                       <         @    .com>
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